                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS




RAOUL MARRADI,

               Plaintiff,

V.
                                                    CIVIL ACTION NO.
                                                    I:I7-cv-I2487-WGY

JPC VENTURE CORP. and
WOODBURY CONSTRUCTION
CO., INC.

               Defendants.



     DEFENDANT. JPC VENTURE CORP.'S MEMORANDUM IN SUPPORT OF ITS
                   MOTION FOR A MORE DEFINITE STATEMENT



I.      Background

        The Plaintiff filed its initial Complaint (D.E. I) against the Defendants pursuant to

the Americans with Disabilities Act, 42 U.S.C. § 12181, etseq. ("ADA"), alleging

violations of the ADA at the Defendant, JPC Venture Corp's ("JPC") bar/restaurant

known as 'Market' and seeking injunctive relief and attorney's fees and costs.

        In his Complaint, the Plaintiff alleges that he visited Market but that he was

precluded from accessing the facility and/or goods, services, facilities, privileges,

advantages and/or accommodations offered therein due to physical barriers that constitute

violations of the ADA and as such, suffered legal harm and injury. D.E. 1       4, 14, 19.

        The Complaint did not include the day or time that the Plaintiff went to Market

and was allegedly suffered legal injury and harm.
II.    Discussion


       Fed. R. Civ. P. 12(e) states in relevant part that "a party may move for a more

definite statement of a pleading to which a responsive pleading is allowed but which is so

vague or ambiguous that the party cannot reasonably prepare a response." While Rule

12(e) motions are disfavored under the 'notice' pleading provision of the Federal Rule

that require only a "short and plain statement of the claim," Fed. R. Civ. P. 8(a)(2), were

the court to relegate the acceptable norms of pleading to the province of discovery, they

would be abandoning the litigants' obligation to expedite the disposition of the action

through discouragement of wasteful pretrial activities. Eisenach v. Miller-Dwan Medical

Center. 162 F.R.D. 346, 349 n.3 (D. Minn. 1995). Whether to grant a motion under Rule

12(e) is committed largely to the discretion of the district court. McHenrv v. Renne. 84

F.3d 1172, 1179(9"'Cir.l996).

       JPC submits that in order to frame and prepare a response, it must conduct a

preliminary investigation of the Plaintiffs allegations. Such an investigation would

include interviewing any staff members that were on duty on the date and time the

Plaintiff came to Market. Such an investigation would allow JPC to provide a good faith

response to each of the Plaintiffs allegations as they pertain to specific barriers the

Plaintiff allegedly encountered both outside and inside the premises. Responding to the

Complaint without this information will cause JPC to violate its duty to 'fairly' respond

to the Plaintiffs allegations as is required pursuant to Fed. R. Civ. P. 8(2).

        Furthermore, the day and time that the Plaintiff went to Market is such a basic fact

that is both readily available and easily ascertainable that its absence in the Complaint is

quite baffling. Equally baffling is the Plaintiffs refusal to providethis information upon

the undersigned counsel's request for the same prior to filing this Motion. See attached
Affidavit. The lack ofjurisprudence directly on point is likely more reflective of the fact

that Plaintiffs routinely provide such basic, yet important, information in their pleadings.

The most direct support for JPC's position is found in Alvarez-Vega v. Cushman &

Wakefield/Propertv Concepts Commercial. 2017 WL 5441831 (D.Puerto Rico) in which

the Court references to its prior decision ordering the Plaintiff to file an amended

Complaint specifying the date the alleged ADA injury occurred pursuant to Rule 12(e).

       WHEREFORE, JPC respectfully requests that this Court order the Plaintiff to

amend his Complaint to include the day and time the Plaintiff visited Market.



                                                      Respectfully Submitted
                                                      JPC VENTURE CORP.
                                                      By Its Attorney,

                                                      /s/ Kevin M. Cloutier
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                              CERTIFICATE OF SERVICE


I hereby certify that this document filed through CM/ECF system will be sent
electronically to the following registered participants as identified on the NEF:

                               L. Richard LeClair, III, Esq.

                                  Edward N. Gamo, Esq.

                                  Todd W. Shulby, Esq.



Date:   2/15/18                                       /s/Kevin M. Cloutier
                                                      Kevin M. Cloutier
